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           IN THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MONTANA

                         BILLINGS DIVISION
UNITED STATES OF AMERICA,
                                            CR 13-79-BLG-SEH
                  Plaintiff,

vs.                                         FINDINGS AND
                                            RECOMMENDATION
KERA DAWN EVANS, aka Kera                   CONCERNING PLEA
Dawn Hoots,

                  Defendant.

      The Defendant, by consent, has appeared before me under Fed. R.

Crim. P. 11 and has entered a plea of guilty to Count II of the Indictment,

which charges the crime of possession with intent to distribute

methamphetamine in violation of 21 U.S.C. § 841(a)(1). The Defendant

also agreed to concede the forfeiture of any ownership interest she has in

those items of property subject to the criminal forfeiture allegation in the

Indictment and stipulates to the entry of a preliminary order of forfeiture

regarding those items.

      After examining the Defendant under oath, the Court determined

that the Defendant: (1) knowingly, intelligently, and voluntarily entered


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the guilty plea; and (2) fully understands her constitutional rights and

the extent to which such rights are waived. The Court also determined

that the offense charged and to which the Defendant entered a guilty plea

contained each of its essential elements.

     The Court further concludes that the Defendant had adequate time

to review the Plea Agreement with counsel, that she fully understands

each and every provision of the agreement and that all of the statements

in the Plea Agreement are true. I recommend that the Defendant be

adjudged guilty and that sentence be imposed. A presentence report has

been ordered.

     I further recommend that the Court enter a preliminary order of

forfeiture regarding the property subject to the forfeiture allegation,

described as: (1) a Marlin Glenfield model 60, .22 caliber long rifle, serial

number 24378426; (2) a Ruger model M77, 22-250 caliber rifle, serial

number 78606869; (3) a High Standard model Sport King, .22 caliber

handgun, serial number 503887; (4) a Tanfoglio 9 millimeter handgun,

serial number H35889; (5) a Mossberg model 500AB, 12 gauge shotgun,

serial number G310243; and (6) a Walther Smith and Wesson P22

handgun.
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     Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days. 28 U.S.C. §

636(b)(1)(B); Fed. R. Crim. P 59(b)(2).

     DATED this 22nd day of November, 2013.


                            /S/ Carolyn S. Ostby
                            United States Magistrate Judge




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